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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA
                     Criminal No. 98-176 DSD/AJB


UNITED STATES OF AMERICA,        )
                                 )
                 Plaintiff,      )
                                 )     ATTACHMENT A
                 v.              )
                                 )
JAMES W. REED,                   )
                                 )
                 Defendant.      )


     You have been ordered to appear before the U.S. Magistrate

Judge and bring with you a copy of your Federal Tax Returns for the

last three years, a current pay stub, all documents evidencing

ownership of personal or real property having a value in excess of

$100, and the following:

     All titles, deeds, mortgages and other documents evidencing
     your ownership in real estate,

     All leases, notes receivable, mortgages, liens, contracts and
     other documents evidencing income, dividends or royalties owed
     or paid to you,

     All records, including pay stubs evidencing your gross wages
     and/or salary and/or commissions and net wages for the last
     six (6) months,

     All records establishing ownership in all of part of any
     business as sole owner, partner or stockholder and the
     financial condition of such business for the last three years
     including a statement of assets, inventories, liabilities,
     gross and net income and the amount of any undistributed
     profits in the business,

     All titles and registrations for all motor vehicles owned by
     you in whole or in part,

     All receipts appraisals and other statements or documents
     establishing your ownership and value of jewelry and furs
     owned by you,
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Statement for all your checking, savings and trust accounts
for the last twelve (12) months,

All records and statements for certificates of deposit,
savings bonds, stocks, bonds, coupons and mutual funds,

All life insurance policies currently in effect and all
records evidencing their face value and case surrender value,

All records establishing your interest in any account held by
someone else on your behalf in any bank, savings institution
or credit union,

All records evidencing your ownership interest in any property
real or personal in the possession of or name of any person or
corporation,

A list of all your real property transferred since payment of
this debt was demanded and all records establishing the
transfer and the value received,

All records evidencing your receipt of any pension, disability
compensation, retirement pay or other benefits from the United
States or any other source,

All records and statements indicating installment debts for
the last twelve (12) months,

All records or documents indicating judgments you owe,

An itemized list of all items owned and used in your trade or
business and all records or documents indicating the value of
such items.
